Case 0:19-cv-61654-RKA Document 1-3 Entered on FLSD Docket 07/03/2019 Page 1 of 1
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate AH Re-filed Cases Below.

I. (a) PLAINTIFFS Juan Carlos Gil DEFENDANTS 7ow2 of Hillsboro Beach, Florida
(b) County of Residence of First Listed Plaintiff Miami-Dade County of Residence of First Listed Defendant Broward
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

Scott R. Dinin, Esq.; Scott R Dinin, P.A.; 4200 NW 7th Avenue,
Miami, Florida 33127; tel 786-431-1333; email inbox@dininlaw.com ; Juan
Courtney Cunningham, Esq; 8950 SW 74 Ct, Ste 2201 Miami Florida 33156 email: cc@cunninghampllc.com

(d) Check County Where Action Arose: [ miamrpape [monroe rowarn Faumseach fekrtm Gl tucie = RbIANRIVer =—-FT OKEECHOBEE D1 HIGHLANDS

 

   
      

 

       

 

 

  
 

 
 
 

       

 

    

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintif)
(For Diversity Cases Only) and One Box for Defendant)
(J 1 US. Government w] 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 [C1 _ Incorporated or Principal Place o4 O84
of Business In This State
0 2. US. Government 04 Diversity Citizen of Another State 02 (1 2 Incorporated and Principal Place Os O35
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a O03 ( 3 Foreign Nation Oe 6
Foreign Country
IV. NATURE OF SUIT (Place an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions
ene CONTRACT: Pe Sea TORTS 2 00 Se ‘ RE/PENALTY BANKRUPTCY: OTHER STATUTES$
(110 Insurance PERSONAL INJURY PERSONAL INJURY [1] 625 Drug Related Seizure (1422 Appeal 28 USC 158 C 375 False Claims Act
(1120 Marine 310 Airplane U0 365 Personal Injury - of Property 21 USC 881 (1423 Withdrawal 0 376 Qui Tam (31 USC
0 130 Miller Act (1315 Airplane Product Product Liability U0 690 Other 28 USC 157 3729 (a))
(1 140 Negotiable Instrument Liability U0 367 Health Care/ 1 400 State Reapportionment
(1150 Recovery of Overpayment [1] 320 Assault, Libel & Pharmaceutical ‘Si PROPERTY RIGHTS#eq C1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights OJ 430 Banks and Banking
(151 Medicare Act (1 330 Federal Employers’ Product Liability 1 830 Patent ; O 450 Commerce
C152 Recovery of Defaulted Liability (0 368 Asbestos Personal oO Now Daas Appleton’ LO 460 Deportation
Student Loans (1340 Marine Injury Product (0 840 Trademark 0 470 Racketeer Influenced and
(Excl. Veterans) (345 Marine Product Liability y oe SOCIAL SECURITY Corrupt Organizations
(1 153 Recovery of Overpayment Liability PERSONAL PROPERTY [] 861 HIA (1395ff) 1 480 Consumer Credit
of Veteran’s Benefits (1350 Motor Vehicle O 370 Other Fraud Act (1 862 Black Lung (923) 1 490 Cable/Sat TV
(1 160 Stockholders’ Suits (1 355 Motor Vehicle (2 371 Truth in Lending (0 720 Labor/Mgmt. Relations 1] 863 DIWC/DIWW (405(g)) [J 850 Securities/Commodities/
(1 190 Other Contract Product Liability 1 380 Other Personal DD 740 Railway Labor Act C1 864 SSID Title XVI Exchange
(195 Contract Product Liability | [ 360 Other Personal Property Damage (0 751 Family and Medical 865 RSI (405(g)) (1 890 Other Statutory Actions
(1196 Franchise Injury 0) 385 Property Damage Leave Act C1 891 Agricultural Acts
LD 362 Personal Injury - Product Liability (1 790 Other Labor Litigation 0 893 Environmental Matters
— Med. Malpractice (791 Empl. Ret. Inc. C1 895 Freedom of Information
: ‘REAL PROPERT) RIGHTS :4),.: PRISONER PETITIONS 4 Security Act 42 FEDERAL TAX SUITS Act
() 210 Land Condemnation (] 440 Other Civil Rights Habeas Corpus (1 870 Taxes (U.S. Plaintiff 1 896 Arbitration
0 220 Foreclosure 0 441 Voting DD 463 Alien Detainee or Defendant) (1 899 Administrative Procedure
OC 230 Rent Lease & Ejectment (1) 442 Employment oO al =Motions to Vacate oO Bec RS Third Party 26 Act/Review or Appeal of
1 240 Torts to Land oO Aon usine as Other: - Agency Decision
CO 245 Tort Product Liability (11445 Amer. w/Disabilities - [J 530 General fe Ty 390 Constitutionality of State
(0 290 All Other Real Property Employment 1 535 Death Penalty LD 462 Naturalization Application
446 Amer. w/Disabilities- [1] 540 Mandamus & Other [[] 465 Other Immigration
Other 1 550 Civil Rights Actions
(448 Education 0 555 Prison Condition

560 Civil Detainee -
Conditions of

 

Confinement
V. ORIGIN (Place an “X” in One Box Only) Og
1 Original 2 Removed 3 Re-filed 4 Reinstated 5 Transferred from 6 Multidistrict 7 ‘dicts
Proveeding 0 from State Oo (See VI 0 or mete’ O another district Litigation O Beet ed e Os Muttidistrict Lo Remanded from
Court below) Reopened (specify) Transfer from Magistr ate Mt ee Appellate Court
Judgment File

VI. RELATED/ (See instructions): a) Re-filed Case OYES ¥iNO b) Related Cases GYES vi NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity).
VII. CAUSE OF ACTION Title II of the ADA, Sec 504 Rehab Act; 29 USC Sec 794; 42 U.S.C. PDF documents within online content is inaccessable to disabled

 

blind isually i ired individual
LENGTH OF TRIAL via days estimated (oh cand visual "er ire case men’s
VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION ‘ ‘ nt:
COMPLAINT: oO UNDER FRCP. 23 DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: Oyes 1No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE ! SIGNATURE OF ATTORNEY OF RECORD

a) dary Lz

FOR OFFICE USE ONLY * . om
RECEIPT # AMOUNT IFP JUBGE MAG JUDGE
